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                                    UNITED STATES DISTRICT COURT
 1
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                                     SAN FRANCISCO DIVISION

 3
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 4
      Pangea Legal Services, et al.,                )
 5                                                  )       Civil Action No. 3:20-cv-09253-JD
                                                    )
 6                      Plaintiffs,                 )
 7                                                  )      JOINT STATUS REPORT
      v.                                            )
 8                                                  )
      U.S. Dept. of Homeland Security, et al.,      )      Hearing Date:
 9                                                  )      Hearing Time:
10                      Defendants.                 )
                                                    )
11                                                  )
      Immigration Equality, et al.,                 )
12                                                  )       Civil Action No. 3:20-cv-09258-JD
13                                                  )
                        Plaintiffs,                 )
14                                                  )
      v.                                            )
15                                                  )
16    U.S. Dept. of Homeland Security, et al.,      )
                                                    )
17                      Defendants.                 )
                                                    )
18
19                                              STATUS REPORT
20            On January 8, 2021, this Court issued a preliminary injunction enjoining the Final Rule at
21   issue in both cases. See Pangea ECF 66; Immigration Equality, ECF 55.
22            On January 27, 2021, the Court granted the parties’ Joint Stipulation to Hold Cases in
23   Abeyance while the preliminary injunction remained in effect. In the stipulation, the parties agreed
24   to submit a status report within 90 days of the Court’s order, “updating the Court on the status of
25   the Final Rule and policy changes or other developments, if any, that are likely to materially impact
26   these cases.” Pangea, ECF 75 at 2, Immigration Equality, ECF 60 at 2. On April 19, 2021, the
27   parties submitted a joint request for the cases to remain in abeyance while they continued
28   discussions on the issues regarding providing notice of the preliminary injunction to the public and



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 1   asylum applicants and to submit a status report in 30 days. Pangea, ECF 81, Immigration Equality¸
 2   ECF 63. The Court granted this request on April 19, 2021, and ordered the parties to file a “joint
 3   status report by May 19, 2021, advising the Court of the status of the government’s review of the
 4   regulation at issue in these cases, and of any relevant policy changes or other material
 5   developments.” Pangea, ECF 82, Immigration Equality, ECF 64.
 6            On May 19, 2021, the parties submitted a joint status report in which the parties set forth
 7   their respective positions on whether the Government was complying with the Court’s preliminary
 8   injunction, and Plaintiffs requested a status conference. The Court scheduled a status conference,
 9   which was held on August 19, 2021. Following the conference, the Court directed the parties “to
10   meet and confer about the agency websites and links to the enjoined portions of the CFR” and to
11   submit a joint status report by September 20, 2021, along with “a proposal for resolution of the
12   cases, including entry of a permanent injunction.” Pangea, ECF 85; Immigration Equality, ECF
13   67. On September 20, 2021, the parties filed a joint status report in which they requested an
14   additional 30 days to set forth a proposal for further proceedings in this case, which the Court
15   granted.
16            Since September 20, 2021, the parties have continued to engage in discussions regarding
17   their proposals for the management of this case and mechanisms for providing the public with
18   information about the currently operative regulations, including through multiple telephonic meet
19   and confers.
20            The parties have made substantial progress in their discussions. At this time, the parties
21   request that the case remain administratively closed while the federal agencies continue working
22   on        draft        regulations.        That       process   remains      ongoing.           See
23   https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202110&RIN=1125-AB14;
24   https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202110&RIN=1125-AB13;
25   https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202110&RIN=1125-AB20.                   The
26   parties anticipate that there may be additional information issued regarding the status of relevant
27   regulatory actions this spring that could materially impact their negotiations. The parties request
28   that this Court’s preliminary injunction continue to remain in effect during this time.


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 2   Respectfully submitted,
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     Dated: January 31, 2022
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